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               IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TEXAS
                          WACO DIVISION

WSOU INVESTMENTS, LLC D/B/A       §    CIVIL ACTION 6:20-cv-00573-ADA
BRAZOS LICENSING AND              §    CIVIL ACTION 6:20-cv-00575-ADA
DEVELOPMENT,                      §    CIVIL ACTION 6:20-cv-00577-ADA
          Plaintiff,              §    CIVIL ACTION 6:20-cv-00585-ADA
                                  §
v.                                §
                                  §
GOOGLE LLC,                       §
         Defendant.               §
                                  §
                                  §
          PLAINTIFF’S OPENING CLAIM CONSTRUCTION BRIEF
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       Plaintiff WSOU Investments, LLC d/b/a Brazos License and Development (“WSOU”)

respectfully submits this claim construction brief in support of its proposed constructions.

I.     Legal Standards

       A.      Claim Construction Generally

       The general rule is that claim terms are generally given their plain-and-ordinary meaning.

Phillips v. AWH Corp., 415 F.3d 1303, 1312 (Fed. Cir. 2005) (en banc); Azure Networks, LLC v.

CSR PLC, 771 F.3d 1336, 1347 (Fed. Cir. 2014), vacated on other grounds by 135 S. Ct. 1846,

1846 (2015) (“There is a heavy presumption that claim terms carry their accustomed meaning in

the relevant community at the relevant time.”). The plain and ordinary meaning of a term is the

“meaning that the term would have to a person of ordinary skill in the art in question at the time

of the invention.” Philips,415 F.3d at 1313. “‘Although the specification may aid the court in

interpreting the meaning of disputed claim language, particular embodiments and examples

appearing in the specification will not generally be read into the claims.’” Comark Commc’ns, Inc.

v. Harris Corp., 156 F.3d 1182, 1187 (Fed. Cir. 1998) (quoting Constant v. Advanced Micro-

Devices, Inc., 848 F.2d 1560, 1571 (Fed. Cir. 1988)). Although extrinsic evidence can also be

useful, it is ‘“less significant than the intrinsic record in determining the legally operative meaning

of claim language.’” Phillips, 415 F.3d at 1317 (quoting C.R. Bard, Inc. v. U.S. Surgical Corp.,

388 F.3d 858, 862 (Fed. Cir. 2004)).

       This Court recently explained that “[t]he ‘only two exceptions to [the] general rule’ that

claim terms are construed according to their plain and ordinary meaning are when the patentee

(1) acts as his/her own lexicographer or (2) disavows the full scope of the claim term either in the

specification or during prosecution.” CloudofChange, LLC v. NCR Corp., No. 6-19-CV-00513-

ADA, 2020 WL 4004810, at *2 (W.D. Tex. July 15, 2020) (quoting Thorner v. Sony Computer



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Entm't Am. LLC, 669 F.3d 1362, 1365 (Fed. Cir. 2012). “To act as his/her own lexicographer, the

patentee must ‘clearly set forth a definition of the disputed claim term,’ and ‘clearly express an

intent to define the term.’” Id. (quoting Thorner, 669 F.3d at 1365). And “[t]o disavow the full

scope of a claim term, the patentee’s statements in the specification or prosecution history must

represent ‘a clear disavowal of claim scope.’” Id. (quoting Thorner, 669 F.3d at at 1366).

“Accordingly, when ‘an applicant’s statements are amenable to multiple reasonable

interpretations, they cannot be deemed clear and unmistakable.’” Id. (quoting 3MInnovative

Props. Co. v. Tredegar Corp., 725 F.3d 1315, 1326 (Fed. Cir. 2013)).

       B.      Indefiniteness

       The Patent Act requires claims to particularly point out and distinctly claim the subject

matter regarded as the inventions. 35 U.S.C. § 112, ¶ 2. To satisfy this requirement, the claim must

be read in light of the intrinsic evidence to determine whether it informs one of skill in the art at

the time of the invention “about the scope of the invention with reasonable certainty.” Nautilus,

Inc. v. Biosig Instruments, Inc., 572 U.S. 898, 910-11 (2014). To establish that a claim is indefinite,

a patent challenger must prove indefiniteness by clear and convincing evidence. Sonix Tech. Co.

v. Publ’ns Int’l, Ltd., 844 F.3d 1370, 1377 (Fed. Cir. 2017).

II.    U.S. Patent No. 7,620,967 (Case No. 6:20-cv-00573) Disputed Claim Terms

               1.      “broadcast/broadcasting”

       WSOU’s Proposed Construction                       Defendant’s Proposed Construction
 Plain and ordinary meaning                           “Simultaneously transmitting an information
                                                      item to all receivers in a network”
       This term should be given its plain and ordinary meaning. Defendant’s proposed

construction should be rejected at least for improperly importing limitations from the specification.

Toshiba Corp. v. Imation Corp., 681 F.3d 1369 (Fed. Cir. 2012) (“Absent disclaimer or


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lexicography, the plain meaning of the claim controls.”). Defendant’s proposed construction

improperly seeks to limit broadcasting to “an information item.” The claim language itself recites

broadcasting “a descriptor relating to each information item” as well as broadcasting “the

information items” (see ’967 patent, 11:4, 11:19). Defendant’s proposed construction improperly

excludes everything but “an information item.” Moreover, Defendant’s proposed construction is

confusing and unclear for requiring “simultaneously” transmitting. The specification discusses

“exploiting the bit rate fluctuations that constantly occur when a network is used.” Id. 1:66-67.

Given that transmissions in a network are not instantaneous, this is an additional reason why

Defendant’s proposed construction should be rejected.

III.   U.S. Patent No. 8,559,928 (Case No. 6:20-cv-00575) Disputed Claim Terms

               1.      “contact information”

       WSOU’s Proposed Construction                      Defendant’s Proposed Construction
 Plain and ordinary meaning                          “Information related to the identity of and
                                                     communication with an entity.”
       This term should be given its plain and ordinary meaning. Defendant’s proposed

construction is confusing and unhelpful. It is unclear what “information related to the identity

and communication with an entity” entails. However, the specification recites that contact

information may comprise “names and to each name one or more telephone numbers can be

stored, and in some cases also other information.” ’928 patent, 1:17-20 (emphasis added). In

other words, at most, all that is required is a name and one or more telephone numbers. To the

extent Defendant’s proposed construction can be understood, Defendant’s proposed construction

should be further rejected for improperly importing limitations not required in the claims or

specification. Toshiba, 681 F.3d at 1369 (“Absent disclaimer or lexicography, the plain meaning

of the claim controls.”).


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                2.      “tree structure”
       WSOU’s Proposed Construction                           Defendant’s Proposed Construction
 Plain and ordinary meaning                               “A non-linear data structure consisting of an
                                                          ordered set of linked nodes in a connected
                                                          graph, in which each node has at most one
                                                          parent node, and zero or more children nodes
                                                          with a specific order.”
        This term should be given its plain and ordinary meaning. Defendant’s proposed

construction is vague and unhelpful, and Defendant’s proposed construction should be rejected

for improperly importing limitations not required in the claims or specification. Toshiba, 681

F.3d at 1369 (“Absent disclaimer or lexicography, the plain meaning of the claim controls.”).

There is nothing in the claims or specification that requires the specific elements of Defendant’s

proposed construction. And there is nothing in the claims or specification in describing a tree

structure that recites or requires “non-linear,” “ordered,” “nodes,” “connected graph,” “parent

node,” or “children nodes,” “each node has at most one parent node,” and “with a specific

order.” To the contrary, the specification discloses that a tree structure comprises of a plurality of

logical levels. ’928 patent, 1:40-41. And examples of a tree structure are depicted in Figures 2, 3,

and 4. For example, Figure 2 depicts “an example of a group of contact information arranged in a

tree structure with a plurality of logical levels”:




        Id., Fig. 2.

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        Moreover, as shown in the bottom level (205) of Figure 2, above, the second from the left

node is connected to two nodes in the level above it, which expressly shows a preferred

embodiment that does not require “each node has at most one parent node.” Defendant’s

proposed construction expressly excludes at least a preferred embodiment and for at least that

reason alone, should be rejected. Vitronics Corp. v. Conceptronic, 90 F.3d 1576, 1584-85 (Fed.

Cir. 1996) (noting that a construction that reads out a preferred embodiment is rarely, if ever,

correct and would require highly persuasive evidentiary support).

IV.     U.S. Patent No. 8,737,961 (Case No. 6:20-cv-00585) Disputed Claim Terms

                1.      “stationary state”

       WSOU’s Proposed Construction                        Defendant’s Proposed Construction
 Plain and ordinary meaning                            Indefinite
        This term should be given its plain and ordinary meaning. Indeed, it is odd that Defendant

contends that this term is indefinite but proposes a definition which includes the term “stationary

state” in the next disputed term. Regardless, the specification expressly teaches that a stationary

state is “when the mobile device is determined to be not moving outside a specified area based on

signal data” ’961 patent, 2:37-40. Likewise, in another example, the specification discloses that

“[w]hen mobile terminal 150 is not moving substantively, e.g., not moving outside a limited or

otherwise specified area, the [wireless transmitter] identifiers indicated by successive signal data

fields 203 are similar (changing slightly, for example, if one or more WiFi access points powers

up or powers down or the user moves to different locations with an apartment).” Id., 7:17-222.

And that “[w]hen a mobile terminal is frequently not moving with similar sets of transmitter IDs,

those similar sets define a stationary state, e.g., a limited area where the user of the mobile terminal

has a tendency to stay. Id., 7:26-29. In another example, the specification recites that stationary

states “represent the places that a user stays.” Id., 20:29-30.

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       Moreover, the claim language itself provides context, for example, in claim 1, the claim

recites “determining whether the mobile device is moving outside a specified area at a current time

of the plurality of different times based on the signal data,” and “if the mobile device is determined

to be not moving outside the specified area, then causing at least in part an incrementing of a count

for a station state associated with the set of one or more distinct signal sources at the current time.”

Id., 37:10-17. Thus, the specification as well as the claim language itself informs one of skill in

the art at the time of the invention “about the scope of the invention with reasonable certainty.”

Nautilus, 572 U.S. at 910-11.

               2.      “incrementing [of] a count[er] for a stationary state”

       WSOU’s Proposed Construction                        Defendant’s Proposed Construction
 Plain and ordinary meaning                            “incrementing a count representing time at a
                                                       stationary state”
       This term should be given its plain and ordinary meaning. Defendant’s proposed

construction at best attempts to re-word the claim language, which is unnecessary and confusing.

Furthermore, given that Defendant proposes the term “stationary state” is indefinite (which it is

not), Defendant’s proposed construction here which includes the term “stationary state” is

especially ambiguous. Regardless, the claim language of incrementing of a count for a stationary

state fully states the requirements of the claim language, and Defendant’s attempt to import an

additional limitation of “representing time at a [stationary state]” is not required by the claims or

the specification. Toshiba, 681 F.3d at 1369 (“Absent disclaimer or lexicography, the plain

meaning of the claim controls.”).

               3.      “determin[e/ing] a primary set of stationary states”

       WSOU’s Proposed Construction                        Defendant’s Proposed Construction
 Plain and ordinary meaning                            Indefinite
       This term should be given its plain and ordinary meaning. Additionally, the claims provide

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context for this claim term. For example, claim 1 recites: “determining a primary set of stationary

states, each stationary state in the primary set associated with a frequently incremented count…”

’961 patent, 37:18-22. And the specification discloses that Figures 11A and 11B “are graphs of

cumulative distribution of most frequent stationary states for a mobile terminal accumulated

incrementally over time…” Id., 3:33-37. And the specification goes on to disclose Tables 6 and 7,

where Table 6 shows “Total number of stationary states” and Table 7 shows “Number of stationary

states to account for 95% of stationary time.” For example, for User 1, the WiFi data stream type

discovered 86 stationary states (Table 6), but only 5 stationary states (out of the 86) accounted for

95% of stationary time (Table 7). Id., 23:15-22, 24:10-18. In describing Figures 11A and 11B, the

specification describes charting the fraction observations (of all observations) attributed to the first

through sixth most frequent stationary states. Id., 23:23-54. Thus, as the claim language itself

recites, determining a primary set of stationary states includes stationary states with the most

observations, or highest (most frequently) incremented counters.

V.     Terms of U.S. Patent No. 8,751,585 (Case No. 6:20-cv-00577-ADA)

       A. Disputed terms of the ’806 patent which only Google seeks to construe.

               1. “a list of actions” and “a plurality of actions”

               WSOU’s Position                                       Google’s Position
 Plain and ordinary meaning.                           “a finite number of selectable items each
                                                       corresponding to an executable function”

       The terms “a list of actions” (claims 1 and 9) and “a plurality of actions” (claim 17) require

no construction, particularly given the respective contexts in which they are recited. Google errs

in seeking to indiscriminately construe both “a list of actions” and “a plurality of actions” to mean

“a finite number of selectable items each corresponding to an executable function.”

       The disputed terms are recited in qualified contexts that are sufficiently definitive on their



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face. For example, claim 1 recites “a list of actions” in the following context: “wherein the action

defined in the archiving rule is selected from a list of actions that can be detected by the

communication system.” Claim 9 similarly recites “wherein the action defined in the archiving

rule is selected by the user from a list of actions that can be detected by the communication

system.” Claims 1 and 9 further qualify the “list of actions” as including “at least one of the

following actions[,]” followed by claim language directed to certain actions. For both claims 1

and 9, the “list of actions” is further limited in terms of “an action” that must be selected from the

list. That selected action is itself qualified (in both claims 1 and 9) in that (1) it “can be

subsequently carried out using at least some portion of the communication system,” (2) it must be

“defined in the archiving rule,” and (3) it must be “based at least in part on content of the selected

electronic message.”    Because the surrounding context qualifies the “action(s)” terms with

sufficient clarity and the scope of the “list” term is not disclaimed in any way in either the claims

or the specification, the plain and ordinary meaning should apply.

       The disputed term “a plurality of actions” (recited only in claim 17) requires no

construction because “plurality” and “actions” are plain on their face in the recited context.

Moreover, claim 17 expressly qualifies the “plurality of actions” as “a plurality of actions that can

be detected by the communication system” and by specifying that “the plurality of actions

comprising at least one of the following actions ….” When properly read in view of the

surrounding context, therefore, no construction is required for the disputed “plurality of actions”

term apart from the plain and ordinary meaning.

       Google runs afoul of the fundamental canon that adding limitations neither required by

claim terms nor unambiguously required by either the specification or the prosecution history of a

patent is impermissible. See, e.g., Cont’l Circuits LLC v. Intel Corp., 915 F.3d 788, 796–97 (Fed.



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Cir.), cert. denied, 140 S. Ct. 648 (2019); Dayco Prods., Inc. v. Total Containment, Inc., 258 F.3d

1317, 1327 (Fed. Cir. 2001). Google’s construction of the “list of actions” term impermissibly

seeks to add at least the following extraneous limitations: (1) that the recited “list” must include

multiple “items,” thereby unduly excluded the possibility of a list of one; (2) that each one of

multiple so-called “items” must be “selectable;” (3) that there must be “a finite number of …

items” (whatever that means); and (4) that each one of the so-called “items” must “correspond[]

to an executable function.” None of these extraneous limitations are required by claim terms or

unambiguously required by either the specification or the prosecution history of the ’585 patent.

       It is significant here that certain claims recite “a list of actions” and others recite “a plurality

of actions.” This explicit claim differentiation reveals that these phrases are not interchangeable,

but rather when a “plurality” is required the applicant said so. It would be erroneous, therefore, to

unduly restrict “a list of actions” to exclude the possibility of the singular. See, e.g., Phillips v.

AWH Corp., 415 F.3d 1303, 1314 (Fed. Cir. 2005) (en banc), cert. denied, 546 U.S. 1170 (2006)

(“Differences among claims can also be a useful guide in understanding the meaning of particular

claim terms.”) (citation omitted); Unwired Planet, LLC v. Apple Inc., 829 F.3d 1353, 1358‒59

(Fed. Cir. 2016) (finding error in construing “voice input” to be limited to a voice input transmitted

over a voice channel, but rather was broad enough to cover a voice input transmitted over a voice

or data channel, and noting that in other claims the patentee had expressly claimed the use of a

voice channel showing that had the patentee intended to limit “voice input” to transmission over a

voice channel it could have done so with other language but did not).

       Google’s extraneous requirement that each one of multiple so-called “items” must be

“selectable” also cannot withstand scrutiny in view of the claim language. Claim 1 recites “the

action defined in the archiving rule is selected from a list of actions that can be detected by the



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communication system,” and claim 9 recites “the action defined in the archiving rule is selected

by the user from a list of actions that can be detected by the communication system[.]” Under a

plain and ordinary reading of this claim language, only “the action defined by the archiving rule”

need be “selected from a list of actions.” This claim language does not, however, expressly restrict

a “list” as requiring multiple items, much less that each one of multiple items need be selectable,

as Google erroneously argues.

       The Court should also reject Google’s extraneous requirement that each one of multiple

so-called “items” must “correspond[] to an executable function.” Claims 1 and 9 both expressly

require that the “the action … selected from the list of actions” must be “an action that can be

subsequently carried out using at least some portion of the communication system.” Claims 1 and

9 do not, however, qualify the “list” as requiring multiple items, much less require that each one

of multiple items must be “an action that can be subsequently carried out using at least some

portion of the communication system.” It would be erroneous, therefore, to adopt as a construction

Google’s extraneous requirement that each one of multiple so-called “items” must “correspond[]

to an executable function.”

       While claim 17 differs from claims 1 and 9 by reciting “a plurality of actions,” it would be

erroneous to import into each one of the “actions” limitations expressly directed to only the

selected “first action.” For example, claim 17 expressly qualifies only the recited “first action” as

being “selected from a plurality of actions,” “specified in the first archiving rule” and “carried out

using at least some portion of the communication system.” It would be erroneous here to import

such limitations into each one of the “plurality of actions,” as Google evidently seeks to do (e.g.,

by indiscriminately qualifying all so-called “items" as necessarily being “selectable” and

“corresponding to an executable function”).



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       Accordingly, for a multitude of reasons, the Court should reject Google’s construction and

find that the disputed terms should be afforded their plain and ordinary meaning.

               2. “moving the selected electronic message from the inbox to the archive
                  location after detection of the action defined in the archiving rule,”
                  “to move the selected electronic message from the inbox to the archive
                  location,” and “moving the first electronic message from the inbox of the
                  electronic mail client associated with the user to the first storage location
                  associated with the first archiving rule”

               WSOU’s Position                                   Google’s Position
 Plain and ordinary meaning.                       “moving the selected electronic message from
                                                   the inbox to a different location in memory
                                                   corresponding to the previously defined
                                                   archive location after the communication
                                                   system detects the action defined in the
                                                   archiving rule”

       For the various disputed phrases introduced as either “moving” or “to move,” Google errors

in attempting to conflate those distinct phrases into one by its proposal of reducing them all to a

singular, indiscriminate construction. Google compounds its error by then attempting to add

extraneous limitations that are neither required by claim terms nor unambiguously required by

either the specification or the prosecution history of a patent is impermissible. See, e.g., Cont’l

Circuits, 915 F.3d at 796–97; Dayco Prods., 258 F.3d at 1327.

       A comparison of the “moving” limitation recited in claim 1 and Google’s indiscriminate

construction underscores Google’s departure from the claim language. Claim 1 recites “moving

the selected electronic message from the inbox to the archive location after detection of the action

defined in the archiving rule.” Google does not offer a definition for any of these terms. Instead,

Google simply attempts to redraft the claim language by inserting additional limitations. Using

underlining and ellipses to underscore Google’s claim redrafting, the difference between Google’s

construction and the claim language is as follows: “moving the selected electronic message from

the inbox to a different location in memory corresponding to the previously defined archive


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location after the communication system detect[s] … the action defined in the archiving rule.”

That Google uses the original claim language, nearly in its entirety, without proposing any

definition for any of those terms, only confirms that the claim language is plain on its face and no

construction is required. It is also independently fatal to Google’s construction that the extraneous

element “memory” does not appear anywhere in the ’585 patent, much less in the context of an

unambiguous requirement for “moving … to a different location in memory,” as Google argues.

See Cont’l Circuits, 915 F.3d at 796–97; Dayco Prods., 258 F.3d at 1327.

       Claim 9 serves to demonstrate Google’s problematic approach in proposing a universal

construction for phrases that are patently distinct from one another. Claim 9 recites the disputed

term in the fuller context of “an event management processor configured to generate an archiving

command to move the selected electronic message from the inbox to the archive location after

detection of the action defined in the archiving rule.” This distinct context does not expressly

require “moving” the selected electronic image. Rather, the claim language limits the “event

management process” in terms of a command it must be configured to generate. To be clear, claim

9 does not affirmatively require either generating or executing such a command. Google’s

indiscriminate and erroneous construction, however, would make “moving” an affirmative

requirement for claim 9.

       Claim 17 further demonstrates Google’s problematic approach in proposing a universal

construction for phrases that are patently distinct from one another. Claim 17 recites “specifying

a first action”; and all claims depending therefrom (i.e., claims 18‒20) further require “specifying

a second action” in various contexts. None of those claims (17‒20) expressly recite limitations

expressly requiring that the action itself need be “defined in the archiving rule,” as Google newly

seeks to require by its universal construction offered for distinct terms.



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       For the foregoing reasons, the disputed phrases require no construction; and the Court

should reject Google’s attempt to use claim construction as an exercise to redraft distinct phrases

to all include the same, extraneous limitations.

               3. “client management processor configured to enable the user to select an
                  electronic message from the inbox” (claim 9 only)

               4. “a detection processor configured to detect the action defined in the
                  archiving rule assigned to the selected electronic message was carried out”
                  (claim 9 only)

               5. “a collaborative application management processor configured to manage
                  collaborative applications” (claim 9 only)

        WSOU’s Position                                  Google’s Position
 For all three “… processor          The three disputed “… processor configured to …” terms of
 configured to …” terms of claim     claim 9 are all subject to means-plus-function treatment
 9: plain and ordinary meaning;      under 35 U.S.C. § 112(f).
 not subject to means-plus-
 function treatment; and definite.   Function: the remainder of the term recited after “…
                                     processor configured to …”—e.g., the function of “client
                                     management processor configured to enable the user to select
                                     an electronic message from the inbox” is “enable the user to
                                     select an electronic message from the inbox.”

                                     Structure: none (indefinite).

       Google’s erroneous means-plus-function construction of the “… processor configured to

…” terms (recited only in claim 9) runs afoul of several well-established claim construction canon.

According to Google, the “… processor configured to …” terms each invoke Section 112, ¶ 6 and

are allegedly indefinite lacking any corresponding structure. Google is wrong in both respects.

       Lack of the word “means” in any of disputed “processor” phrases raises a rebuttable

presumption against applying Section 112, ¶ 6. Williamson v. Citrix Online, LLC, 792 F.3d 1339,

1348 (Fed. Cir. 2015) (en banc). While the burden lies with Google to rebut the presumption, it

failed to advance any argument or evidence in its Invalidity Contentions (or in its disclosure of

extrinsic evidence) as allegedly rebutting, or even addressing, the presumption against applying


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Section 112, ¶ 6 to the “processor” phrases, where none of them recites the word “means.”

       Courts have repeatedly rejected similarly flawed claim construction arguments that

“processor configured to …” invokes 35 U.S.C. § 112, ¶ 6 as lacking any structural connotation.

For example, the Eastern District of Texas recently found “that the presumption against applying

§ 112, ¶ 6 to the ‘processor ... configured to ...’ terms stands.” Clear Imaging Research, LLC v.

Samsung Electronics Co., Ltd., Case No. 2:19-cv-00326-JRG, 2020 WL 6384731, *8-*9 (E.D.

Tex. Oct. 30, 2020). The Court further found that “[a]s used in the Asserted Patents, the term

‘processor’ is accorded its customary meaning of a class of structures on which software can run.”

Id. Among a legion of cases the Court cited in support of its construction, the Court cited Samsung

Elecs. Am., Inc. v. Prisua Eng’g Corp., 948 F.3d 1342 (Fed. Cir. 2020) for the proposition that

“‘digital processing unit ... performing [functions]’ found to be sufficiently definite structure in

part because the claims provided operational context for the unit.” Id. (citing Samsung, 948 F.3d

at 1347–48, 1353–54).

       Those court findings are consistent with other ample authority of that sister district. See,

e.g., Cypress Lake Software, Inc. v. Samsung Elecs. Am., Inc., 382 F. Supp. 3d 586, 660 (E.D. Tex.

2019), reconsideration denied, No. 6:18-CV-30-JDK, 2019 WL 4935280 (E.D. Tex. Aug. 23,

2019) (claim limitations reciting “device configured to … detect” were not means-plus-function

limitations where “the claim language provides a description of how the processor is specifically

programmed to operate”); Realtime Data, LLC v. Rackspace US, Inc., 2017 WL 2590195, Case

no. 6:16-CV-00961 RWS-JDL *15‒*17 (E.D. Tex. June 14, 2017) (term “processor” in a claim

reciting that the processor “was configured” to perform certain operations was not a means-plus-

function limitation); Cellular Commc'ns Equip. LLC v. AT&T, Inc., Case No. 2:15-CV-576-RWS-

RSP, 2016 WL 7364266, at *15 (E.D. Tex. Dec. 19, 2016) (“processor configured to” was not a



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means-plus-function limitation and would be given its plain meaning—“Here, ‘processor’ is not a

‘nonce’ term, but rather connotes a class of structures”).

       The Southern District of Texas similarly found that “unlike terms such as ‘means,’

‘element,’ and ‘device’ that typically do not connote structure, ‘processor’ can on its own recite at

least some structure to persons of ordinary skill in the art.” Fisher-Rosemount Systems, Inc. v.

ABB Ltd, Case No. 4:18-CV-00178, 2019 WL 6830806, *15-*16 (S.D. Tex. Dec. 12, 2019). The

Court also identified “several courts [which] have held that ‘processor’ can connote structure.” Id.

(collecting cases).

       The consistent reasoning applied in the ample authority above is equally applicable here.

For each of the three disputed terms in question, the phrase “processor configured to” itself recites

sufficiently definite structure and the remainder of the term further provides sufficiently definite

structure by providing operational context for the processor. Notably, claim 9 does not introduce

each term merely as “processor configured to …,” but each disputed term here also introduces its

respective “processor” with certain additional structural descriptions—e.g., “a client management

processor configured to…,” “a detection processor configured to …,” “a collaborative application

management processor configured to ….” Under the present facts and circumstances, and in the

absence of Google having timely disclosed any expert testimony to conclude otherwise, the

presumption against application of a Section 112, ¶ 6 to the disputed “processor” phrases.




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Dated: January 22, 2021                      Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       A true and correct copy of the foregoing instrument was served or delivered electronically

via U.S. District Court [LIVE]- Document Filing System, to all counsel of record, on this the 30th

day of January 22, 2021.

                                             /s/ James L. Etheridge
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